  Case: 1:19-cv-01610 Document #: 140 Filed: 10/11/19 Page 1 of 12 PageID #:1823




                    UNITED STATES DISTRICT COURT
                    NORTHERN DISTRICT OF ILLINOIS
                         EASTERN DIVISION

___________________________________
                                    )
CHRISTOPHER MOEHRL,                 )
MICHAEL COLE, STEVE DARNELL, )
VALERIE NAGER, JACK RAMEY,          )
SAWBILL STRATEGIC, INC.,            )
DANIEL UMPA, and JANE RUE, on )
behalf of themselves and all others )
similarly situated,                 )
                                    )
                    Plaintiffs,     )
                                    )
      v.                            )       Civil Action No. 1:19-cv-01610
                                    )       Judge Andrea R. Wood
THE NATIONAL ASSOCIATION OF )               Magistrate Judge M. David Weisman
REALTORS, REALOGY HOLDINGS )
CORP., HOMESERVICES OF              )
AMERICA, INC., BHH AFFILIATES, )
LLC, HSF AFFILIATES, LLC, THE )
LONG & FOSTER COMPANIES,            )
INC., RE/MAX, LLC, and KELLER       )
WILLIAMS REALTY, INC.,              )
                                    )
                    Defendants.     )
___________________________________ )

                 STATEMENT OF INTEREST ON BEHALF OF
                    THE UNITED STATES OF AMERICA


                                             MAKAN DELRAHIM
                                             Assistant Attorney General

                                             MICHAEL F. MURRAY
                                             Deputy Assistant Attorney General

                                             ANDREW J. ROBINSON
                                             Counsel to the Assistant
                                             Attorney General
Case: 1:19-cv-01610 Document #: 140 Filed: 10/11/19 Page 2 of 12 PageID #:1824




                                           STEVEN J. MINTZ
                                           Attorney

                                           U.S. Department of Justice
                                           Antitrust Division
                                           950 Pennsylvania Avenue, N.W.
                                           Washington, D.C. 20530-0001
                                           Phone: (202) 353-0256
                                           Fax: (202) 514-0536
                                           Email: Steven.Mintz@usdoj.gov


                                           JOHN R. LAUSCH, JR.
                                           United States Attorney

                                           THOMAS P. WALSH
                                           Assistant U.S. Attorney

                                           219 South Dearborn Street
                                           Chicago, Illinois 60604
                                           Phone: (312) 353-5312
                                           thomas.walsh2@usdoj.gov




                                      2
  Case: 1:19-cv-01610 Document #: 140 Filed: 10/11/19 Page 3 of 12 PageID #:1825




                     INTEREST OF THE UNITED STATES

      The United States respectfully submits this statement pursuant to 28 U.S.C.

§ 517, which permits the Attorney General to direct any officer of the Department of

Justice to attend to the interests of the United States in any case pending in a

federal court. The United States is principally responsible for enforcing the federal

antitrust laws, United States v. Borden Co., 347 U.S. 514, 518 (1954); see 15 U.S.C.

§§ 4, 25, and has a strong interest in their correct application. We submit this

statement to correct the inaccurate portrayal, by defendant The National

Association of Realtors (“NAR”), of a 2008 consent decree between the United States

and NAR.1

                                  BACKGROUND

      1.     During the early 2000s, the United States investigated and resolved an

antitrust case involving NAR rules that allegedly thwarted the utility and growth of

Internet websites operated by real estate brokers. United States v. NAR Amended

Complaint ¶¶ 1-4 (copy attached). The United States sought to protect entry,

innovation, and competition by ensuring that multiple listing services (“MLS”)

would treat brokers who provide real estate brokerage services to sellers or buyers

of residential real property through websites in the same way that they treat

brokers who provide real estate brokerage services to sellers or buyers of residential

real property through traditional “brick-and-mortar” business models. Id. ¶ 8.




      1 The United States takes no position, at this stage of the proceeding, on any
other issue in the case.
                                          1
  Case: 1:19-cv-01610 Document #: 140 Filed: 10/11/19 Page 4 of 12 PageID #:1826




      Specifically, in 2003 NAR adopted a policy relating to “virtual office websites”

(“VOW”s) that allowed brokers to opt out of having their listings displayed on the

VOW sites of competing brokers and prohibited VOWs from engaging in certain

conduct. The United States investigated that VOW policy and sued NAR in 2005.

The United States and NAR settled the case and agreed to the 2008 consent decree.

The decree prohibited NAR from adopting or enforcing any rule or practice that

prohibited a broker from using a VOW or from impeding a broker’s ability to

operate a VOW. Doc. #67-1 (Johnson Decl. Ex. D) at 5-6. The decree required NAR

to replace its VOW policy with a Modified VOW Policy approved by the government,

and to take other antitrust compliance actions. Id. at 6-9.

      2.     Plaintiffs’ Consolidated Amended Class Action Complaint (“CAC”)

(Doc. #84) alleges that defendants NAR and certain national real estate broker

franchisors have conspired to require home sellers to (1) pay the brokers

representing the buyers of their homes, and (2) pay brokers’ commissions that are

“inflated” by comparison to allegedly comparable markets in other countries. CAC ¶

1. Specifically, plaintiffs allege that “NAR and its co-conspirators require every

seller’s broker … when listing a property on a Multiple Listing Service, to make a

‘blanket unilateral offer[] of compensation’ to any broker who may find a buyer for

the home. This requirement, and related terms implementing the requirement … is

hereafter referred to as the Buyer Broker Commission Rule[.]” CAC ¶¶ 3,60

(emphases in original). They further allege that other NAR rules, “Case

Interpretations,” and “hidden fields” in MLSs exacerbate the anticompetitive effects


                                           2
  Case: 1:19-cv-01610 Document #: 140 Filed: 10/11/19 Page 5 of 12 PageID #:1827




and prevent buyers from reducing their buyer broker’s commission. Id. ¶¶ 4, 90

(quoting NAR Standard of Practice 3-2), 75-78 (describing “hidden fields” and “one-

way information exchange” that “prevents price competition that benefits

consumers while allowing brokers to put upward pressure on pricing and to punish

brokers who deviate downwards”), 79 (quoting NAR’s Code of Ethics Standard

Practice 12-2), 88 (quoting NAR Standard of Practice 16-16), 89 (quoting NAR Case

Interpretation #16-15). The NAR ethics rules and case interpretations, according to

plaintiffs, “foreclose[] virtually all negotiation over the buyer-broker commission.”

Id. ¶ 89. This conduct allegedly violates (among other things) Section 1 of the

Sherman Act, 15 U.S.C. § 1.2

          3. NAR and the corporate defendants have moved to dismiss the CAC on

several grounds. NAR’s brief in support of its Motion to Dismiss (Doc. #114) refers

twice to the 2008 consent decree. First, NAR asserts that the “MLS system” and

“the rules upon which it has been based, have repeatedly been upheld by the courts.

… It was explicitly permitted by the Department of Justice in a consent decree that

expressly authorizes NAR to limit membership in an MLS to persons who make

offers of cooperation and compensation to other members of the MLS—a decree that




      2 Plaintiffs also allege that the United States has opened an antitrust
investigation of practices in the market for residential real estate brokerage
services. CAC ¶¶ 1, 72. Although the United States generally does not comment on
the existence or non-existence of pending investigations, it acknowledges that a
Civil Investigative Demand relating to an investigation of residential real estate
brokerage was published in a trade publication. The focus and scope of that
investigation, however, have not been publicly disclosed.
                                           3
  Case: 1:19-cv-01610 Document #: 140 Filed: 10/11/19 Page 6 of 12 PageID #:1828




was approved by Judge Kennelly of this Court.” Doc. #114 at 1-2 (case citations

omitted). Second, NAR asserts in a separate paragraph that

      Other attacks on the rules governing MLSs have been rejected because
      courts have recognized the efficiency and consumer benefits provided
      by MLSs. … The Department of Justice, similarly, entered into a
      consent decree, approved by a Court in this District, expressly
      permitting NAR to maintain a rule that provides that MLS
      membership may be made contingent on a broker’s agreement to
      “actively endeavor” to “make or accept offers of cooperation and
      compensation” through the MLS. Plaintiffs have totally ignored the
      long antitrust scrutiny of MLSs and the repeated judicial conclusion
      that MLSs and the rules that govern them are procompetitive.

Doc. #114 at 21-22 (case citations omitted).

                                    ARGUMENT

      NAR inaccurately portrays the 2008 consent decree. The consent decree

resolved the United States’ antitrust claims against NAR for its exclusionary

policies targeting brokers using innovative platforms. In that case the United

States did not examine the rest of NAR’s policies, including those at issue here, and

therefore those policies simply were not subjected to antitrust scrutiny.

Importantly, those other policies were in no sense analyzed and found consistent

with antitrust laws.

      NAR attempts to give the decree much broader significance, but it does so

through an imprecise reading of the decree. NAR’s first reference to the decree, by

using the ambiguous noun “It,” suggests that the United States affirmatively

approved an entire “MLS system” and all of its related rules. NAR’s second

reference sandwiches its reference to the consent decree between two sentences

asserting that court decisions have found MLSs to be procompetitive. Then, by

                                          4
  Case: 1:19-cv-01610 Document #: 140 Filed: 10/11/19 Page 7 of 12 PageID #:1829




using the word “similarly,” NAR gives the impression that the United States

determined that a NAR rule concerning MLS membership was procompetitive, or

even that the specific rules challenged by the plaintiffs here are procompetitive.

Those impressions are incorrect.

      The United States’ 2005 lawsuit and resulting 2008 consent decree (see Doc.

#67-1, Johnson Decl. Ex. D), which expired in November 2018, had nothing to do

with the specific NAR rules and “Case Interpretations” challenged by the plaintiffs

here. Rather, they focused narrowly on NAR rules that allegedly thwarted the

effectiveness, during the early 2000s, of Internet websites operated by real estate

brokers. United States v. NAR Amended Complaint ¶¶ 1-4. Indeed, the United

States’ Amended Complaint (amended to account for NAR’s modification to its VOW

policy) states that the purpose of the action was to “enjoin the defendant—a

national association of real estate brokers—from maintaining or enforcing policies

that restrain competition from brokers who use the Internet to more efficiently and

cost effectively serve home sellers and buyers, and from adopting other related

anticompetitive rules.” Id. ¶ 1. Every paragraph setting forth the “Nature of the

Offense” focuses on NAR’s initial and modified VOW policies. Id. ¶¶ 30-43. The

specific “Violation Alleged” is that “NAR’s adoption of the above-referenced

provisions in its Initial VOW policy and its Modified VOW Policy, or equivalent

provisions, constitutes a contract, combination, or conspiracy by and between NAR

and its members which unreasonably restrains competition in brokerage service




                                          5
  Case: 1:19-cv-01610 Document #: 140 Filed: 10/11/19 Page 8 of 12 PageID #:1830




markets throughout the United States in violation of Section 1 of the Sherman Act,

15 U.S.C. § 1.” Id. ¶ 44.

      The United States did not affirmatively find any NAR rule or policy to be

“procompetitive” in the 2008 consent decree. Nor does the prior consent decree in

any way “authorize” the system that plaintiffs’ CAC challenges. The consent decree

does not mention the NAR Standards of Practice 3-2, 12-2, or 16-16, NAR Case

Interpretation #16-15, or the “hidden fields” in MLSs, which are the other NAR

provisions and practices challenged by the plaintiffs.3

      NAR’s claim to the contrary relies on a section of the decree titled “Permitted

Conduct.” Doc. #67-1 (Johnson Decl. Ex. D) at 9. That section identified NAR

conduct that was not at issue in the case and which the consent decree was not

intended to affect. That the consent decree identified certain conduct as not

affected by its prohibitions does not mean that the conduct is permitted if it can be




      3  Even an article by NAR’s own Declarant, Katie Johnson, confirms that the
consent decree focused on NAR’s rules governing VOWs, not the rules challenged in
this case. See Katie Johnson, “Breaking Down the 2008 DOJ-NAR Settlement
Agreement,” REALTOR Magazine (Feb. 14, 2018) (copy attached). The article
explains that the scope of the decree “is narrowly focused on a broker’s operation of
a virtual office website and the use of MLS listing data on such a site[.]” Id. at 1.
The article asserts that the “crux” of the consent decree is the prohibition on “all
REALTOR associations and association-owned MLSs from impeding a broker’s
ability to operate a VOW.” Id. at 3. “Every other provision prohibiting or requiring
certain conduct of NAR is geared toward achieving this objective that we refer to as
‘the parity rule.’ That is, MLSs must treat brokers providing real estate services via
websites the same way they treat brokers providing real estate services via bricks-
and-mortar businesses.” Id. The article does not mention the specific section of the
NAR Handbook challenged by the plaintiffs, or anything in NAR’s Code of Ethics or
Case Interpretations, as having been at issue in the consent decree in any way.


                                          6
  Case: 1:19-cv-01610 Document #: 140 Filed: 10/11/19 Page 9 of 12 PageID #:1831




shown to violate the antitrust laws. For example, in Penne v. Greater Minneapolis

Area Bd. of Realtors, 604 F.2d 1143, 1150 (8th Cir. 1979), the defendant realty

board argued that its dissemination of commission rate information was permitted

by an earlier settlement and injunction stating that “[n]othing in this injunction

shall be deemed to prohibit” that conduct. The Court of Appeals rejected that

argument, stating “[t]he short answer to this argument is that nothing in the

Forbes injunction … can be construed to countenance the sort of dissemination of

price information as is here involved if such dissemination is shown to have

anticompetitive effects forbidden under the Sherman Act.”4 Id.

      The language of the decree also makes clear that the United States did not

affirmatively endorse any NAR rule or policy regarding “cooperation and

compensation.” The consent decree merely permitted NAR to limit MLS

participation to active individuals or firms, by stating that it did not prohibit NAR

from “adopting and maintaining the definition of MLS Participant and the

accompanying Note, together attached as Exhibit B.” Doc. #67-1 (Johnson Decl. Ex.

D) at 9. The “definition of MLS Participant” and the Note in Exhibit B provide, in

turn, that “[m]ere possession of a broker’s license is not sufficient to qualify for MLS

participation” and that “the requirement that an individual or firm ‘offers or accepts




      4 Similarly, because 15 U.S.C. § 15(a) creates a private cause of action for
violation of the antitrust laws, even if the allegedly anticompetitive conduct in this
case was the same as in the 2008 consent decree (which it is not), the United States’
settlement of its own claims before trial would not foreclose claims by private
parties. See also 15 U.S.C. § 16(a) (consent decrees in government cases made
before any testimony is taken are not prima facie evidence in private cases).
                                           7
 Case: 1:19-cv-01610 Document #: 140 Filed: 10/11/19 Page 10 of 12 PageID #:1832




cooperation and compensation’ means that the Participant actively endeavors

during the operation of its real estate business to list real property of the type listed

on the MLS and/or to accept offers of cooperation and compensation made by listing

brokers or agents in the MLS.” These definitional requirements recognized that the

Final Judgment’s prohibition of NAR’s restrictions on VOWs did not override the

way brokerage activity in general was conducted when the case settled.

      Consistent with Penne, the 2008 consent decree contained an express

reservation of the United States’ rights in Section IX, “No Limitation on

Government Rights.” Doc. #67-1 (Johnson Decl. Ex. D) at 11. That section provides

that “[n]othing in this Final Judgment shall limit the right of the United States to

investigate and bring actions to prevent or restrain violations of the antitrust laws

concerning any Rule or practice adopted or enforced by NAR or any of its Member

Boards.” The paragraph of the decree that NAR appears to rely on as “approving”

an MLS system, see id. § VI(A) at 9, is expressly conditioned on this reservation of

the United States’ rights. This reservation therefore further undercuts any notion

that the United States somehow granted immunity to an “MLS system” or all NAR

rules relating to an MLS. This reservation also confirms that the United States did

not permit NAR to use the consent decree to shield from investigation or challenge

any conduct or rules shown to be anticompetitive.




                                            8
 Case: 1:19-cv-01610 Document #: 140 Filed: 10/11/19 Page 11 of 12 PageID #:1833




                                  CONCLUSION

      The United States did not, in the 2008 consent decree, approve any NAR rule

or policy as procompetitive. The specific NAR rules challenged by the plaintiffs

were neither scrutinized nor litigated in the United States’ case.

Dated: October 7, 2019

                                               Respectfully submitted.

                                               /s/ Steven J. Mintz

                                              MAKAN DELRAHIM
                                              Assistant Attorney General

                                              MICHAEL F. MURRAY
                                              Deputy Assistant Attorney General

                                              ANDREW J. ROBINSON
                                              Counsel to the Assistant Attorney
                                              General

                                              STEVEN J. MINTZ
                                              Attorney

                                              U.S. Department of Justice
                                              Antitrust Division
                                              950 Pennsylvania Avenue, N.W.
                                              Washington, D.C. 20530-0001
                                              Phone: (202) 353-0256
                                              Fax: (202) 514-0536
                                              Email: Steven.Mintz@usdoj.gov

                                              JOHN R. LAUSCH, JR.
                                              United States Attorney

                                              THOMAS P. WALSH
                                              Assistant U.S. Attorney
                                              219 South Dearborn Street
                                              Chicago, Illinois 60604
                                              Phone: (312) 353-5312
                                              thomas.walsh2@usdoj.gov

                                          9
 Case: 1:19-cv-01610 Document #: 140 Filed: 10/11/19 Page 12 of 12 PageID #:1834




                          CERTIFICATE OF SERVICE

      I hereby certify that on October 7, 2019, I electronically filed the foregoing

Statement of Interest on Behalf of the United States of America with the Clerk of

Court using the CM/ECF system that will send notification of such filing to all

counsel of record.



                                               Respectfully submitted.

                                               /s/ Steven J. Mintz

                                               Attorney for the United States




      .




                                          10
